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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 SINGULAR COMPUTING LLC,

                Plaintiff,

 v.                                              C.A. No. 1:19-cv-12551-FDS

 GOOGLE LLC,                                     Hon. F. Dennis Saylor IV

                Defendant.



    DECLARATION OF VISHESH NARAYEN IN SUPPORT OF DEFENDANT
GOOGLE LLC’S OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE CERTAIN
DOCUMENTS AND TESTIMONY OF DR. MIRIAM LEESER DUE TO IPR ESTOPPEL

       I, Vishesh Narayen, upon my personal knowledge, hereby submit this declaration

pursuant to 28 U.S.C. § 1746 and declare as follows:

       1.     I am an attorney at the law firm of Keker, Van Nest & Peters LLP. I represent

Defendant Google LLC (“Google”) in the above-captioned case.

       2.     Attached hereto as Exhibit 1 is a true and correct copy of the December 22, 2022,

Expert Report of Miriam Leeser, Ph.D. Regarding Invalidity, without accompanying exhibits.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of the March 3, 2023,

Rebuttal Expert Report of Sunil P. Khatri, Ph.D. on the Validity of the Asserted Claims, without

accompanying exhibits.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of an email chain between

counsel for Google and counsel for Plaintiff Singular Computing LLC (“Singular”), spanning

April 24-27, 2023.

       5.     Attached hereto as Exhibit 4 is a true and correct copy of the file history of U.S.

Patent No. 8,407,273 as produced by Singular in this case.
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       6.      Attached hereto as Exhibit 5 is a true and correct copy of the file history of U.S.

Patent No. 9,218,156 as produced by Singular in this case.



       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed on May 19, 2023, in Tampa, Florida.




                                                 VISHESH NARAYEN




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                                CERTIFICATE OF SERVICE

       I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                    /s/ Nathan R. Speed
                                                    Nathan R. Speed
